                Case 22-11068-JTD            Doc 1479       Filed 05/12/23       Page 1 of 16




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                              Chapter 11
    In re
                                                              Case No. 22-11068-JTD
    FTX TRADING LTD., et al.,
                                                              Jointly Administered
                            Debtors.1
                                                              Re: D.I. 1137, 1226, 1324, and 1467


      AD HOC COMMITTEE OF NON-US CUSTOMERS OF FTX.COM’S (A) REPLY
         IN SUPPORT OF THE MOTION TO FILE UNDER SEAL (I) VERIFIED
        STATEMENT OF EVERSHEDS SUTHERLAND (US) LLP AND MORRIS,
     NICHOLS, ARSHT & TUNNELL LLP PURSUANT TO BANKRUPTCY RULE 2019
       AND (II) THE SUPPORTING DECLARATION, AND (B) JOINDER TO JOINT
      MOTION OF THE DEBTORS AND OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS FOR AN ORDER AUTHORIZING THE MOVANTS TO
         REDACT OR WITHHOLD CERTAIN CONFIDENTIAL INFORMATION
         OF CUSTOMERS AND PERSONAL INFORMATION OF INDIVIDUALS

            The Ad Hoc Committee of Non-US Customers of FTX.com (the “Ad Hoc Committee”)

hereby files this (i) reply (the “Reply”) to (a) the objection [D.I. 1226] (the “Media Objection”) of

Bloomberg L.P., Dow Jones & Company, Inc., The New York Times Company and The Financial

Times Ltd. (the “Media Objectors”) and (b) the objection [D.I. 1467] (the “USTr. Objection,”

together with the Media Objection, the “Objections”) of the United States Trustee (“US Trustee”)

to the Ad Hoc Committee’s motion [D.I. 1137] (the “Ad Hoc Redaction Motion”)2 for entry of an



1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are
      3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases
      (collectively, the “Debtors”), a complete list of the Debtors and the last four digits of their federal tax
      identification numbers is not provided herein. A complete list of such information may be obtained on
      the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
2
      The Ad Hoc Redaction Motion is incorporated herein by reference, except as otherwise amended
      herein. Capitalized terms used herein that are not otherwise defined shall have the meanings ascribed
      to them in the Ad Hoc Redaction Motion. For the avoidance of doubt, the Ad Hoc Redaction Motion
      and this Reply apply to any and all supplements to the 2019 Statement (defined below) filed by the Ad
      Hoc Committee prior to the Court’s issuance of a final order on the Motion.
              Case 22-11068-JTD           Doc 1479      Filed 05/12/23       Page 2 of 16




order authorizing the Ad Hoc Committee to file under seal portions of the Ad Hoc Committee’s

Rule 2019 Statement and any other filings containing certain Sealed Information and supplement

thereof, and (ii) joinder (the “Joinder”) to the Joint Motion of the Debtors and the Official

Committee of Unsecured Creditors for an Order Authorizing the Movants to Redact or Withhold

Certain Confidential Information of Customers and Personal Information of Individuals [D.I.

1324] (“Joint Redaction Motion,” together with the Ad Hoc Redaction Motion, the “Redaction

Motions”). In support of the Redaction Motions, this Reply, and this Joinder, the Ad Hoc

Committee respectfully represents as follows:

                                  PRELIMINARY STATEMENT3

        1.      The Ad Hoc Redaction Motion seeks to protect confidential customer information

of its members due to the very present risk of financial and even physical harm that the disclosure

of such information will cause. Moreover, as the Debtors and the Official Committee have

similarly sought to protect the same confidential customer information in their Joint Redaction

Motion, the Ad Hoc Committee joins in their request.

        2.      The Media Objectors have themselves repeatedly reported the very real threat

facing those with crypto holdings. As observed by the New York Times, “[v]irtual currencies can

be easily transferred to an anonymous address set up by a criminal. While banks can stop or

reverse large electronic transactions made under duress, there is no Bitcoin bank to halt or take

back a transfer, making the chances of a successful armed holdup frighteningly enticing.”4 The

Financial Times reports “that [crypto] fraudsters are highly sophisticated and often use ‘clone’



3
    Capitalized terms used in the Preliminary Statement are defined in the sections that follow.
4
    See Nathaniel Popper, Bitcoin Thieves Threaten Real Violence for Virtual Currencies, The New York
    Times, Feb. 18, 2018,
    https://www.nytimes.com/2018/02/18/technology/virtual-currency-extortion.html.

                                                    2
             Case 22-11068-JTD          Doc 1479      Filed 05/12/23     Page 3 of 16




companies which exploit details and websites of real companies to dupe investors and divert their

business”5 and that the risks are increasing substantially as the amounts stolen due to crypto-related

scams doubled between 2020 and 2021 and increased a further twenty-five (25%) percent in 2022.6

        3.     Not inconsistent with the inescapable conclusions reached by the Media Objectors

reporting, courts in this district have also held that redaction in situations like here is not an

evidentiary issue, but rather one of “common sense.” In re Clover Techs. Grp, LLC, No. 19-12680

(KBO) (Bankr. D. Del.) Jan. 22, 2020 Hr’g Tr. 24:21-25 (“I don’t need evidence that there is, at

best, a risk of identity theft and worse a risk of personal injury from listing someone’s name and

address on . . . the court’s electronic case filing system.”). Thus, the Media Objectors’ claim that

such risk of disclosure “is contrary to the weight of authority and unsupported by evidence” is, in

fact, contrary to the evidence of their own reports and rulings of this and other courts. Media Obj.

¶ 52.

        4.     Further, with respect to entities redacted from the Rule 2019 Statement, the Media

Objectors have failed to establish why such information does not constitute confidential

commercial information under section 107(b) of the Bankruptcy Code, despite this Court’s ruling

to the contrary at the Second Day Hearing, or why the Ad Hoc Committee’s members should be

treated differently. There is no reason to disturb the Court’s prior holding – nor is there any basis

to deny the Ad Hoc Committee the same relief the Court has already granted to the Debtors or may

grant to them in the future.




5
    Lucy Warwick-Ching, How can I recover stolen crypto assets? Financial Times, Apr. 5, 2023,
    https://www.ft.com/content/a098f029-6c5a-48ce-b98a-50642f3c31ca.
6
    Joshua Oliver, The Lawless world of crypto scams, Financial Times, Sept. 19, 2022,
    https://www.ft.com/content/5987649e-9345-4eae-a4b8-9bfb0142a2ab.

                                                  3
               Case 22-11068-JTD        Doc 1479        Filed 05/12/23   Page 4 of 16




       5.       The Media Objection, although couched in language of the “public’s right of access

to bankruptcy filings” and disclosure being “an integral part of the Chapter 11 reorganization

process,” fails to provide a valid bankruptcy purpose for the disclosure of the redacted information

within the Rule 2019 Statement. Media Obj. ¶¶ 12, 22. The Media Objectors claim that sealing, in

this case, renders “members of the press and public unable to scrutinize [] transactions” provided

in the Debtors’ schedules and statements. Id. at ¶ 24. However, those redactions are not at issue in

the Ad Hoc Redaction Motion, and analyzing those transfers is not an issue for the Media Objectors

to resolve. This information has been and will continue to be provided to the parties responsible

for considering and resolving these issues. And while the unfettered access sought by the Media

Objectors should not be granted because it will cause unjustified harm to customers, relief can be

crafted in such a way as to permit reasonable access, when appropriate, to “headline-grabbing”

information.

       6.       In reality, the Media Objection suggests an alternative motive for seeking to force

disclosure of the information of those who are now required to come to this Court to recover their

stolen assets: embarrassment and/or their own profit. The Media Objectors’ arguments are contrary

to established precedent, misguided, and should be rejected. Accordingly, the Court should

approve the Ad Hoc Redaction Motion and protect the Ad Hoc Committee members from undue

risk of identity theft and other unlawful injury.

       7.       Moreover, while the US Trustee opposes the relief sought in the Redaction Motions

(besides the redaction of email addresses and addresses of individual customers) and seeks,

alternatively, to limit the redaction of information relative to insiders generally and customers in

specific situations, see USTr. Obj. ¶¶ 18-19, the exceptions sought by the US Trustee are

immaterial to the relief sought by the Ad Hoc Committee because the Ad Hoc Committee members



                                                    4
               Case 22-11068-JTD         Doc 1479      Filed 05/12/23   Page 5 of 16




are not insiders of the Debtors and the only situation where the Ad Hoc Committee has submitted

and will submit any pleadings or filings with the Court will be on behalf of non-US customers of

the Debtors.

                                  PERTINENT BACKGROUND

         8.     On March 22, 2023, the Ad Hoc Committee filed the Ad Hoc Redaction Motion,

Rule 2019 Statement [D.I. 1136], and on March 24, 2023, the Redacted Rule Statement [D.I.

1156].

         9.     On April 5, 2023, the Media Objectors filed the Media Objection, objecting to the

Ad Hoc Committee’s request to redact from public filings Personally Identifying Information and

Sealed Information (both as defined in the Ad Hoc Redaction Motion).

         10.    On April 20, 2023, the Debtors and Official Committee of Unsecured Creditors

(“Official Committee”) filed the Joint Redaction Motion, requesting, among other things, that the

Court (i) extend the permission to redact, pursuant to section 107(b)(1), customers’ names and

contact information for an additional three (3) month period, and (ii) permit the redaction on a

final basis, pursuant to section 107(c)(1), of all of Debtors’ non-institutional customers’ names,

addresses, and email addresses from public filings made in the chapter 11 cases. Simultaneously

therewith, the Debtors and Official Committee filed the declaration of Jeremy A. Sheridan [D.I.

1325] (the “Sheridan Declaration”)7 in support of the Joint Redaction Motion.

         11.    On May 3, 2023, the Media Objectors filed an objection to the Joint Redaction

Motion [D.I. 1406], making substantially the same arguments raised in the Media Objection.

         12.    On May 9, 2023, the US Trustee filed the USTr. Objection, incorporating the

arguments that the US Trustee raised to the Debtor’s Redaction Motion. See USTr. Obj. ¶ 18.



7
    The Sheridan Declaration is incorporated herein by reference.

                                                   5
               Case 22-11068-JTD          Doc 1479      Filed 05/12/23      Page 6 of 16




         13.     In the event the Redaction Motions are granted, the US Trustee requests that the

Court limit such relief to require, among other things, the disclosure of (i) the names of individual

insiders and names and addresses of non-individual insiders in any document filed with the Court,

and (ii) names of individual non-insider customers and names and addresses of non-individual

non-insider customers from any filing with the Court if it is not possible to determine from the

information provided in the pertinent filing that such party is, in fact, a customer of the Debtors.

See USTr. Obj. ¶ 19. As noted above, see ¶ 8, supra, these exceptions are immaterial to the Ad

Hoc Committee and the relief sought in the Ad Hoc Redaction Motion.8

               REPLY IN SUPPORT OF THE AD HOC REDACTION MOTION

         14.     Rule 2019 of the Federal Rules of Bankruptcy Procedure (the “Rule” or “Rules”)

requires the disclosure of certain information, including, in some cases, the addresses of members

of an ad hoc committee. See Fed. R. Bankr. P. 2019(c). Through this Reply, the Ad Hoc Committee

supplements and amends the Ad Hoc Redaction Motion to confirm that it is seeking authority to

redact the names of the Ad Hoc Committee members and related personally identifying

information, including their addresses.9

A.       The Redaction Deadline Should Be Extended Under Section 107(b) To Permit
         the Continued Sealing of Customer Information, Including the Names and
         Addresses of the Ad Hoc Committee’s Members

         15.     The Media Objectors argue that neither the Debtors nor the Ad Hoc Committee

have satisfied the evidentiary burdens necessary for an extension of the April 20, 2023 redaction

deadline (“Redaction Deadline”), provided for in the Redaction Order, and continued redaction of


8
     The Ad Hoc Committee does not contest the US Trustee’s reservation of rights.
9
     Though not expressly stated in the Ad Hoc Redaction Motion, the request in this supplement, to redact
     personally identifying information, including addresses, is consistent with the relief sought in the
     Debtors’ Redaction Motion, which was subsequently granted in the Redaction Order, and provides the
     intended scope of protections originally contemplated by the Ad Hoc Committee in the Ad Hoc
     Redaction Motion.

                                                    6
               Case 22-11068-JTD          Doc 1479       Filed 05/12/23       Page 7 of 16




customer information under section 107(b)(1). But the Media Objectors ignore the Court’s prior

ruling wherein the Court found sufficient evidence for the redaction of customer information

pursuant to section 107(b)(1). In truth, the Media Objectors do nothing but rehash old evidentiary

challenges that were raised at the Second Day Hearing and simultaneously overruled by the Court.

The Court has already determined that there was sufficient evidence to conclude that the customer

list is a trade secret and can be protected under section 107(b). Second Day Hr’g Tr. 103:1-5.10

         16.     The Court should further extend the Redaction Deadline because the same reasons

that the Court found for doing so at the Second Day Hearing continue to exist today. At this point

in the cases, the Debtors have, to some extent, obtained sufficient information to commence next

steps relative to monetizing assets for the benefit of creditors. Regardless of what path this may

take, the protection and preservation of the Debtors’ significant asset (the customer list) is

necessary at this time.

         17.     Moreover, as set forth in the Ad Hoc Redaction Motion, there is no basis to deny

the Ad Hoc Committee members the same relief provided to all other customers – the members of

the Ad Hoc Committee are customers of the Debtors. Thus, the Debtors’ estates are harmed

regardless of whether a disclosure is of a member of the Ad Hoc Committee or another customer.11

         18.     Further, the Media Objectors’ assertion that the members have waived any rights

to privacy in the chapter 11 cases is simply incorrect. See Media Obj. ¶ 42. Unlike the cases cited

by the Media Objectors, the members of the Ad Hoc Committee have not filed any personal claims

in these chapter 11 cases, nor have they “voluntarily come forward” for the purpose of collecting


10
     The hearing transcripts cited herein are not attached to this Reply as exhibits but will be provided to
     the Court and to parties in interest upon request.
11
     Though Rule 2019 would ordinarily require the disclosure of certain information, this requirement
     should be excused where the Debtors and the Committee have established that such would harm the
     Debtors’ estates.

                                                     7
              Case 22-11068-JTD          Doc 1479       Filed 05/12/23      Page 8 of 16




on their claims. Id. Instead, as required by Rule 2019, their counsel have filed statements of their

authority to represent multiple clients. In re ACandS, Inc., 462 B.R. 88, 96 (Bankr. D. Del. 2011)

(“Statements under 2019 are attorney statements of authority to represent multiple clients as listed

thereon. They are not claims and are not affirmative statements by the clients themselves.”)

(emphasis added). Furthermore, here, the members of the Ad Hoc Committee act in a

representative capacity for the interests of all non-US customers, not their own individual benefit.

See Ad Hoc Committee of Non-US Customers of FTX.com v. FTX Trading, Ltd., Adv. Pro. 22-

50514 [D.I. 1, ¶ 1] (“This action seeks a declaration that assets customers deposited, held, received,

or acquired on the FTX.com platform are customer property and not property of the Debtors’

estates under section 541 of title 11 of the United States Code”).

B.      Cause Exists Under the Bankruptcy Code and Bankruptcy Rules to Authorize
        the Ad Hoc Committee to Redact the Names and Addresses of Individual
        Members Under Section 107(c)12

        19.     The Media Objectors seemingly chastise the Ad Hoc Committee for its alleged

failure to present evidence of harms actually suffered by individuals resulting from the disclosure

of personally identifying information. Putting aside that evidence has been presented, this is simply

not the standard. “Section 107(c) references ‘risk,’ and the assessment of risk is forward-looking.

While a specific potential harm must be identified, the standard does not require evidence of injury

having occurred in the past or under similar circumstances.” In re Motions Seeking Access to 2019

Statements, 585 B.R. 733, 751 (D. Del. 2018) (emphasis added; internal citations omitted).

        20.     Despite attempts to do so, the Media Objectors cannot minimize or, as they do in

some cases, ignore evidence of specific potential risks associated with the disclosure of names and



12
     As the Media Objectors do not object to the redaction of individual’s personal addresses, Media Obj.
     24 n.9, the Ad Hoc Committee’s Reply focuses solely on arguments concerning redaction of individual
     members’ names under section 107(c)(1).

                                                    8
             Case 22-11068-JTD         Doc 1479      Filed 05/12/23     Page 9 of 16




addresses of the Ad Hoc Committee’s individual members. The Sheridan Declaration provides

numerous specific, real, and substantial risks associated with the disclosure of names, addresses,

and other personal information. Sheridan Decl. ¶¶ 11-25. The Media Objectors can only attempt

to downplay or minimize these risks and their associated harms (as they do throughout the Media

Objection). But the Court only has to look so far as the Media Objectors’ own reporting and those

of their colleagues to recognize the reality of these risks and harms. See ¶¶ 2-3, supra.

       21.     In re Celsius Network, LLC, 644 B.R. 276 (Bankr. S.D.N.Y. 2022) (“Celsius”), on

which the Media Objectors most heavily rely, serves as a perfect example of the need for protection

of customers’ personal information. In Celsius, the bankruptcy court held that individual

customers’ physical and email addresses would be sealed under section 107(c). Id. at 294.

However, the bankruptcy court required disclosure of customer names because it was not

convinced that the disclosure of names alone presented an imminent risk of harm. Id. at 295.

       22.     Shortly after the names of customers were made publicly available, searchable

customer lists were created and posted online, allowing essentially anyone to search Celsius

customers based on their crypto holdings. See Mack DeGeurin, New Tool Shows the Biggest Losers

in the Celsius Crypto Meltdown, Gizmodo, Oct. 10, 2022, https://gizmodo.com/crypto-celsius-

1849637951. Not surprisingly, various criminal attempts were then made to influence, steal from,

or gain advantage over Celsius customers, with some attempts even going so far as the creation

and disbursement of an altered court order purporting to require Celsius customers to submit

personal information, including their cryptocurrency wallet addresses and contact information.

Notice of Phishing Attempts [D.I. 1527], Supplemental Notice of Phishing Attempts [D.I. 1681],

Second Supplemental Notice of Additional Phishing Attempts [D.I. 1904], Third Supplemental




                                                 9
             Case 22-11068-JTD         Doc 1479       Filed 05/12/23    Page 10 of 16




Notice of Additional Phishing Attempts [D.I. 1992], Fourth Supplemental Notice of Additional

Phishing Attempts [D.I. 2082], In re Celsius Network LLC, No. 22-10964 (MG) (Bankr. S.D.N.Y.).

       23.     While the Media Objectors attempt to diminish the impact of the attacks on Celsius

customers, see Media Obj. ¶¶ 60-61, it cannot be ignored that the Celsius decision resulted in the

exact risk the court believed was too speculative to warrant redacting the customers’ names. The

release of the customers’ names alone was sufficient to elicit criminal action to a degree requiring

the bankruptcy court’s intervention to prevent harm to the customers. The disclosure of customer

names clearly caused the type of “undue risk” sought to be prevented by section 107(c).

       24.     Finally, the Media Objectors ignore clear authority from this district where courts

have found that the risk to individuals through the disclosure of their names and/or addresses is a

specific and particularized harm which constitutes cause for redaction. See, e.g., In re Alpha Latam

Mgmt., LLC, No. 21-11109 (JKS) (Bankr. D. Del.) Sept. 2, 2021 Hr’g Tr. at 34:15-23 (finding that

the disclosure of names which subjects individuals to potential harm is a “specific and well-

articulated harm”); In re Cred, Inc., No. 20-12836 (JTD) (Bankr. D. Del. Dec. 21, 2020) [D.I. 264]

(order granting motion to seal individual customer names). Some courts in this district have even

gone so far as to describe it as a common-sense issue. In re Clover Techs. Grp., LLC, Jan. 22,

2020 Hr’g Tr. 24:21-25 (“To me it is common sense. I don’t need evidence that there is, at best,

a risk of identity theft and worse a risk of personal injury from listing someone’s name and address

on the internet by way of the court’s electronic case filing system and, of course, the claims agent’s

website.”); In re Art Van Furniture, LLC, No. 20-10553 (CSS) (Bankr. D. Del. Mar. 10, 2020 [D.I.

82] Hr’g Tr. 25:6-7 (noting that it is not a burden of proof issue but more of a “common sense”

issue, and stating further that “at this point and given the risks associated with having any kind of




                                                 10
              Case 22-11068-JTD         Doc 1479       Filed 05/12/23   Page 11 of 16




private information out on the internet, [redaction] has really become routine [and] I think obvious

relief.”).

        25.     As a result, protecting the individual members of the Ad Hoc Committee (and

individual customers as a whole) significantly outweighs any presumption in favor of access. See

In re Continental Airlines, 150 B.R. 334, 340 (D. Del. 1993) (explaining that redaction is permitted

where “the interest in secrecy outweigh[s the] presumption in favor of access”); In re Owens

Corning Armstrong World Indus., Inc., 560 B.R. 229, 237 (Bankr. D. Del. 2016) (explaining that

the court retains the authority to seal documents “when justice so requires”).

        26.     In light of the foregoing, the Court should overrule the Media Objection and grant

the Ad Hoc Redaction Motion, permitting the Ad Hoc Committee to redact the names and

addresses of its individual members.

C.      Cause Exists Under the Bankruptcy Code and Bankruptcy Rules to Authorize
        the Ad Hoc Committee to Redact the Names and Addresses of Entity Members
        Under Section 107(c) Because Disclosing Such Information will Harm
        Individuals

        27.     Though some have argued that section 107(c)’s protections do not apply to entities,

this argument ignores that the language of this section is not so limited and that (i) entities can

only act through individuals, and (ii) the disclosure of contact information of entities would create

undue risk of (a) identity theft of those individuals who are affiliated with the entity, and (b) harm

to individuals’ interest in those entities. Notably, the names, addresses, and other personally

identifiable information of individuals employed by, or associated with, institutional members is

frequently available online. Bad actors could identify and target these individuals with as much

ease as any other individual. Thus, individuals are equally at risk of suffering harm to their person

or property through the disclosure of their affiliated entities.




                                                  11
              Case 22-11068-JTD        Doc 1479       Filed 05/12/23       Page 12 of 16




        28.     For example, in 2022, hackers stole from approximately 6,000 Coinbase accounts,

using acquired personal information like email addresses, passwords, and phone numbers to

complete the theft.13 Another example is the theft of $415 million crypto experienced at FTX due

to hacking. [See D.I. 507]. Such harms are not confined to the entity itself, but harm underlying

individuals. Thus, the risks contemplated under section 107(c) are not limited exclusively to

situations in which individuals act solely in their individual capacity.

        29.     Consequently, the Ad Hoc Committee requests that the Court permit the redaction

of the names and addresses of Ad Hoc Committee entity members pursuant to section 107(c).

D.      Cause Exists to Authorize the Debtors to Redact the Names of Individuals
        Protected by the GDPR to Avoid Liability Under the GDPR

        30.     There is also cause to authorize the redaction of the names of individual residents

and citizens of the UK and EU member countries to ensure that the Debtors (or the Ad Hoc

Committee, as explained below) do not incur liability under the GDPR. To be clear, the Ad Hoc

Committee does not claim that the GDPR trumps US law. Rather, the Ad Hoc Committee submits

that the risk of violating the GDPR and incurring potential sanctions outweighs any potential

benefit of disclosing in public filings the names of individuals protected by the GDPR.

        31.     The GDPR penalizes certain public use of personal information of individuals in

the EU and UK. More specifically, the GDPR penalizes the disclosure of an individual’s “Personal

Data” by “Data Controllers,” which are entities that “determine[] the purposes and means of

processing personal data,” GDPR Art. 4(1), (7). “Personal Data” includes names and surnames of



13
     See Scott Ikeda, Coinbase Hack Attributed to a Multi-factor Authentication Flaw that Allowed
     Scammers to Steal Cryptocurrency from 6,000 Accounts, CPO Magazine, Oct. 14, 2021
     https://www.cpomagazine.com/cyber-security/coinbase-hack-attributed-to-a-multi-factor-
     authentication-flaw-that-allowed-scammers-to-steal-cryptocurrency-from-6000-
     accounts/#:~:text=Hackers%20stole%20cryptocurrency%20from%20about,state%20Attorney%20Ge
     neral's%20office%20disclosed.


                                                 12
               Case 22-11068-JTD       Doc 1479       Filed 05/12/23   Page 13 of 16




identified or identifiable natural persons or any information relating to the same. GDPR Art. 4(1).

Violations of GDPR can result in incredibly harsh penalties, possibly up to the higher of

€20,000,000 or 4% of worldwide annual turnover of the preceding financial year. GDPR Art.

83(5).

         32.     The Ad Hoc Committee could be a “Data Controller” under the GDPR and thus

subject to its requirements (and sanctions). Pursuant to Article 6 of the GDPR, the Ad Hoc

Committee must have a legal basis to process the personal data of EU or UK subjects, including

their names and surnames. As no such legal basis applies here, the disclosure of the names of

individuals protected by the GDPR may cause the Ad Hoc Committee to incur significant penalties

as set forth in the GDPR.

         33.     Courts in this district do not require parties to bear the risk that the court’s

interpretation of the GDPR is incorrect. For example, in In re Forever 21, Inc., in overruling the

US Trustee’s objection to the redaction of names and addresses of individuals protected by the

GDPR, the Court noted that the Debtors would face “enormous penalties” if personal information

was disclosed in violation of the GDPR, and held that “the Court is unwilling to place the debtors

in such jeopardy.” In re Forever 21, No. 19-12122 (KG) (Bankr. D. Del.), Dec. 19, 2019 Hr’g Tr.

62:10-12; see also In re VIP Cinema Holdings, Inc., No. 20-10345 (MFW) (Bankr. D. Del.), Mar.

10, 2020 Hr’g Tr. at 28:24-25, 29:1 (“I think the risk of damage and fines under the EU regulations

outweighs the need for disclosure of [addresses] at this point.”). The Court should decline to

impose such a risk on the Ad Hoc Committee here as well.

         34.     For these reasons, courts in this district have repeatedly overruled objections and

authorized the redaction of names and addresses based on section 107(c) and/or the GDPR (or

other foreign data protection laws). See, e.g., In re Alpha Latam Mgmt., LLC, (D.I. 159)



                                                 13
             Case 22-11068-JTD         Doc 1479       Filed 05/12/23   Page 14 of 16




(overruling the objection of the US Trustee and authorizing redactions based on a Colombian data

protection law); In re Clover Techs. Grp., LLC, (D.I. 146, 155) (overruling the objection of the US

Trustee and authorizing redactions based on section 107(c) and the GDPR); In re Forever 21, Inc.,

(D.I. 605), Dec. 19, 2019 Hr’g Tr. at 62:16-22 (overruling the objection of the UST and authorizing

the redaction of “the names and home addresses of European Union member countries’ citizens,

limited to individuals, from the Creditor Matrix and any other paper filed or to be filed with the

Court in these chapter 11 cases”); In re Akorn, Inc., No. 20-11177 (KBO), at ¶ 4 (Bankr. D. Del.

May 22, 2020) (D.I. 74) (authorizing redaction of names and addresses of “individuals protected

by the GDPR”); In re VIVUS, Inc., No. 20-11779 (LSS) (Bankr. D. Del. July 10, 2020) (D.I. 66)

(same); In re Brooks Bros. Grp., Inc., No. 20-11785 (CSS) (Bankr. D. Del. July 10, 2020) (D.I.

107) (same); see also In re Secure Home Holdings LLC, No. 21-10745 (JKS) (Bankr. D. Del. Apr.

27, 2021) (D.I. 54) (authorizing redaction of names and addresses of individual customers pursuant

to section 107(c)(1)).

       35.        The Court should do the same here, and overrule the Media Objection.

                       JOINDER TO THE JOINT REDACTION MOTION

       36.        The Ad Hoc Committee joins in and respectfully requests that the Court grant the

Debtors’ and Official Committee’s Joint Redaction Motion, subject to the clarification that the

relief sought in the Joint Redaction Motion be applied equally to all of the Debtors’ customers,

including the members of the Ad Hoc Committee. It would be inequitable to protect non-US

customers while members of the Ad Hoc Committee, who joined the Ad Hoc Committee for the

purpose of protecting non-US customers rights as a whole, are left exposed. The relief should be

extended to its reasonable and logical conclusion, which is to provide protection for all customers

of the Debtors.



                                                 14
             Case 22-11068-JTD      Doc 1479       Filed 05/12/23   Page 15 of 16




       37.     Therefore, the Ad Hoc Committee joins in the Joint Redaction Motion and requests

that the Court extend any relief granted thereunder equally to any filings made by the Ad Hoc

Committee.



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                                              15
          Case 22-11068-JTD   Doc 1479    Filed 05/12/23   Page 16 of 16




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                                     16
